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Attorneys for Plaintiffs,

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

HILDA VASQUEZ, individually, and as mS CV i 3 - 0 / / 2 6 S 1

personal representative of the ESTATE OF COMPLAINT FOR DAMAGES FOR
EDGAR GARCIA, THE ESTATE of VIOLATIONS OF CIVIL RIGHTS AND
EDGAR GARCIA, WRONGFUL DEATH

[42 U.S.C. §§ 1983; and pendant tort claims]

DEMAND FOR JURY TRIAL

Plaintiffs,
VS.

CITY OF SANTA PAULA; THE SANTA
PAULA POLICE DEPARTMENT; THE
CHIEF OF POLICE FOR THE SANTA
PAULA POLICE DEPARTMENT, Interim
Chief, ISMAEL CORDERO; OFFICER
HECTOR RAMIREZ, individually and in his
official capacity as a Police Officer for the
CITY OF SANTA PAULA; OFFICER
CHAD PEPLINSKI, individually and in his
official capacity as a Police Officer for the
CITY OF SANTA PAULA; and DOES 1 to
50, inclusive, individually and in their official
capacities as POLICE OFFICERS for the
CITY OF SANTA PAULA

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COMPLAINT FOR DAMAGES FOR VIOLATIONS OF
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INTRODUCTION

1. This case arises out of the wrongful death of twenty-five (25) year old EDGAR GARCIA
at the hands of several SANTA PAULA Police Officers during the evening of July 28, 2012, at
his residence.

JURISDICTION

2. This action arises under Title 42 of the United States Code § 1983. Jurisdiction is
conferred upon this Court by Title 42 of the United States Code, §§ 1331 and 1343. The
unlawful acts and practices alleged herein occurred in the CITY OF SANTA PAULA, County of
Ventura, State of California, which is within this judicial district.

PARTIES

3. Plaintiff herein, HILDA VAZQUEZ, is, and at all times mentioned herein, is a competent
adult who appears both individually and as the personal representative of EDGAR GARCIA.
Plaintiff is the surviving parent of decedent, EDGAR GARCIA.

4. Plaintiff, THE ESTATE OF EDGAR GARCIA, appears by and through its
representative, HILDA VAZQUEZ, and may maintain causes of action and recover damages for
the value of decedent’s life and decedent’s pain and suffering.

5. Defendant, CITY OF SANTA PAULA (“hereinafter known as Defendant”) is and at all
umes herein mentioned, a municipal entity duly organized and existing under the laws of the
State of California.

6. Defendant. SANTA PAULA POLICE DEPARTMENT (“hereinafter known as
Defendant”) is a local governmental agency bestowed with police powers, as that term is used in
the United States Constitution, and are thereby charged with the duty to enforce all Federal,
State, and Local laws.

7. Atall times mentioned herein, ISMAEL CORDERO, Interim CHIEF OF POLICE FOR
THE CITY OF SANTA PAULA (“hereinafter known as Defendant”), is sued in his individual
and official capacity.

8. Atall times mentioned herein, HECTOR RAMIREZ, Officer with the SANTA PAULA

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POLICE DEPARTMENT (“hereinafter known as Defendant”) is sued in his individual and
official capacity.

9, Atall times mentioned herein, CHAD PEPLINSKI, Officer with the SANTA PAULA
POLICE DEPARTMENT (“hereinafter known as Defendant”) is sued in his individual and
official capacity.

10. Plaintiffs are ignorant of the true names and/or capacities of Defendants sued herein as
DOES | through 50, inclusive, and therefore sue said Defendants by such fictitious names.
Plaintiffs will amend this complaint to allege their true names and capacities when ascertained.
Plaintiffs believe and thereon allege that each of the DOE defendants is legally responsible and
liable for the incident, injuries, and damages hereinafter set forth. Each Defendant proximately
caused injuries and damages because of their negligence, breach of duty, negligent supervision,
lack of management or control, willful violation of public policy, and false arrests, Each
Defendant is liable for his/her personal conduct, vicarious or imputed negligence, fault, or breach
of duty, whether severally or jointly, or whether based upon agency, employment, ownership.
entrustment, custody, care or control or upon any other act or omission. Plaintiffs will ask leave
to amend this complaint subject to further discovery.

11. In doing the acts and/or omissions alleged herein, Defendants, and each of them, acted
under color of authority and/or color of law.

12. Due to the acts and/or omissions alleged herein, Defendants, and each of them, acted as
the agent, servant, and employee and/or in concert with each of said other Defendants herein.

13. For State causes of action related to Federal claims, Plaintiffs are required to comply with
an administrative claim requirement under California law. Plaintiffs have complied with all
applicable requirements.

FACTS

 

14. On or about the evening of July 28, 2012 at approximately 8:00 p.m., Santa Paula Police
officers answered a residential disturbance call at 1117 New Street, Santa Paula, CA 93060. As
Police officers approached the home, decedent EDGAR GARCIA, who had been arguing with

his father, ran through the residence and out through the side entrance from the home and into

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the backyard of the residence. It was there that Officer HECTOR RAMIREZ, of the SANTA
PAULA POLICE DEPARTMENT shot and killed the decedent EDGAR GARCIA, who was
unarmed and not posing any threat to Police officers.

15. Officer HECTOR RAMIREZ, who had been lying in wait from the opposite side of the
fence of the backyard directly behind that of the decedent’s home, shot and killed EDGAR
GARCIA without any mercy or justification as he ran through the backyard of his home.
EDGAR GARCIA never knew what hit him.

16. Immediately after the incident, which is the subject matter of this complaint, Santa Paula
Police Officers, including Santa Paula Police Reservist, Officer CHAD PEPLINSKI, claimed
that EDGAR GARCIA began firing a weapon at him, striking him, and continued to fire his
weapon as he ran into the backyard of his home where Officer RAMIREZ ambushed and shot
EDGAR GARCIA as he was attempting to evade contact with police.

17. Plaintiff, HILDA VAZQUEZ, who was present and witnessed all of the above events,
with the exception of the actual killing, asserts that EDGAR GARCIA was neither armed nor
fired any weapon at police and that the only weapons she heard being fired that evening were
that of Officer HECTOR RAMIREZ.

18. Plaintiffs are informed and believe and thereon allege that the CITY OF SANTA PAULA
and DOES 26 to 50, inclusive, breached their duty of care to the public in that they have failed to
discipline Defendants HECTOR RAMIREZ and CHAD PEPLINSK] and DOES 1 to 23,
inclusive, for their respective misconduct and involvement in the incident described herein,
Their failure to discipline Defendants HECTOR RAMIREZ and CHAD PEPLINSKI and DOES
| to 25, inclusive, demonstrates the existence of an entrenched culture, policy or practice of
promoting, tolerating , condoning and/or ratifying the deliberate indifference, the making of
improper detentions and arrests, the use of excessive and/or deadly force and the fabrication of
official reports to cover up Defendants’ HECTOR RAMIREZ and CHAD PEPLINSK and
DOES | TO 25’s, inclusive, misconduct.

19. Plaintiffs are informed and believe and thereon allege that on said date, July 28, 2012,

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CITY OF SANTA PAULA POLICE DEPARTMENT were in violation of its policies and
procedures which resulted in the death of EDGAR GARCIA. After the shooting, those officers
at the scene each and all of them formulated a story to make this shooting look like it was
justified by conspiring by and between them to assert that EDGAR GARCIA was armed with a
weapon and fired that weapon at police officers as he fled. Ventura County Sheriff's
Investigators have determined that EDGAR GARCIA was not armed and no weapon has ever
been recovered.

20. Plaintiffs are informed and believe and thereon allege that SANTA PAULA
POLICE officers negligently and recklessly fired their weapons at EDGAR GARCIA ina
residential neighborhood with total disregard for public safety and security of the community and
specifically EDGAR GARCIA and intended to shoot and kill EDGAR GARCIA, thereby
causing his death.

21, Plaintiff's are informed and believe and thereon allege that the SANTA
PAULA police officers at the scene were negligently and poorly trained, were negligently hired,
were negligently and poorly supervised (both at the scene and before), and were negligently
retained.

22. Plaintiff's are informed and believe and thereon allege that members of the CITY OF
SANTA PAULA POLICE DEPARTMENT, including but not limited to Defendants, HECTOR
RAMIREZ, CHAD PEPLINSKI, and/or DOES | to 25 and/or each of them, have individually
and/or while acting in concert with one another, engaged in a repeated pattern and practice of
making improper detentions and/or false arrests and using excessive, arbitrary and/or
unreasonable force against individuals, including, but no limited to decedent, EDGAR GARCIA.

23. Plaintiff is further informed and believes and thereon alleges that as a matter of official
Policy rooted in an entrenched posture of deliberate indifference to the constitutional ri ghts of
primarily minority citizens, Defendant, CITY OF SANTA PAULA POLICE DEPARTMENT,
has long allowed citizens, such as the decedent, to be abused by its police officers, including by
Defendants HECTOR RAMIREZ and CHAD PEPLINSKI and/or DOES 1 to 25 and/or each of

them, individually and/or while acting in concert with one another,

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24. As a result of the pre-existing customs, policies, patterns and/or practices of such abuses
by members of Defendant CITY OF SANTA PAULA POLICE DEPARTMENT, decedent and
Plaintiffs were subjected to the violation of their constitutional rights as alleged herein.

DAMAGES

25, As a consequence of Defendants violation of Plaintiff's Federal Civil Rights under 42
U.S.C § 1983 and the Fourteenth Amendment, Plaintiff HILDA VAZQUEZ was mentally and
emotionally injured and damaged as a proximate result of decedent’s wrongful death, including
but not limited to Plaintiff's loss of familial relations, decedent’s society, comfort, protection,
companionship, love, affection, solace and moral support.

26. Plaintiff, ESTATE OF EDGAR GARCIA, by and through HILDA VAZQUEZ, the
personal representative of EDGAR GARCIA’s estate, is entitled to recover wrongful death
damages pursuant to California Code of Civil Procedures §§ 377.60 and 377.61 and California
Probate Code § 6402(b). Additionally, Plaintiffs are entitled to the reasonable value of funeral
and burial expenses pursuant to California Code of Civil Procedures §§ 377.60 and 377.61,

27. Plaintiff, ESTATE OF EDGAR GARCIA is entitled to recover damages by and through
HILDA VAZQUEZ, the personal representative of decedent’s estate pursuant to his right of
survivorship for the pain and suffering he endured as a result of the violation of his civil 1 ghts.

28. Plaintiff found it necessary to engage the services of private counsel to vindicate the
rights of decedent and Plaintiff's rights under the law. Plaintiff is therefore entitled to an award
of attorney’s fees and/or costs pursuant to statute(s) in the event that she is the prevailing party in

this action under 42 U.S.C. §§§1983, 1985-86 and 1988.

FIRST CAUSE OF ACTION
(Violation of Fourth Amendment of the United States Constitution)
(42 U.S.C. §1983)
(THE ESTATE OF EDGAR GARCIA V, RAMIREZ, PEPLINSKI & DOES 1to25)

29. Plaintiff re-alleges and incorporates by reference paragraphs 1 through 28 as though

fully set forth herein.

30. Defendant’s above-described conduct violated decedent’s rights as provided for under the

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| || Fourth Amendment to the United States Constitution to be free from excessive and/or arbitrary

2 || and/or unreasonable use of deadly force against him.

 

3 WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
4
5 SECOND CAUSE OF ACTION
i Deliberate Indifference to Decedent’s Medical Needs
6 (THE ESTATE OF EDGAR GARCIA v. RAMIREZ, PEPLINSKI &
DOES 1 to 25)
7
31. Plaintiff re-alleges and incorporates by reference paragraphs | through 30 as though full
8
set forth herein
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32. While dying at the scene, Decedent was entitled to receive necessary medical attention
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while in the care and custody of the SANTA PAULA POLICE DEPARTMENT. In doing the
11
acts complained of herein, Defendants, and each of them, acted under color of authority and
12
Law to deprive the decedent of urgently needed medical care in violation of his rights, under the
13
f Due Process Clause of the Fourteenth Amendment.
|
6 33. As a proximate result of Defendants’ conduct, and each of them, Plaintiff suffered
5
i injuries and damages as set forth herein.
i WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
18

THIRD CAUSE OF ACTION

19 (Wrongful Death)

(42 U.S.C §1983)

20 (THE ESTATE OF EDGAR GARCIA vy. RAMIREZ, PEPLINSKI & DOES 1 TO 25)

Al 34. Plaintiff hereby re-alleges and incorporates by reference paragraphs 1 through 33 as
22 || though fully set forth herein.
23

35. Defendants and each of them acted under color of law by shooting and killing decedent
24 || without lawful justification for doing so and subjected decedent to excessive force thereby

25 || depriving Plaintiff and the decedent of certain constitutionally protected rights, including, but not

26 || limited to:

2] a. The right to be free from unreasonable searches and seizures, as guaranteed by the
28 Fourth and Fourteenth Amendments to the United States Constitution;
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b. The right not be deprived of life or liberty without due process of law, as guaranteed
by the Fourteenth Amendment to the United States Constitution; and

c. The right to be free from the use of excessive force by police officers, which is
guaranteed by the Fourth and Fourteenth Amendments to the United States
Constitution.

WHEREFORE, Plaintiff prays for relief as hereinafter set forth.

FOURTH CAUSE OF ACTION
(Violations of Plaintiff’s Civil Rights to Familial Relationship)
(42 U.S.C. § 1983)
(HILDA VAZQUEZ v. RAMIREZ, PEPLINSKI & DOES 1 to 25)

36. Plaintiff here re-alleges and incorporates by reference paragraphs 1 through 35 as though
fully set forth herein.

37. Defendants, acting under color of state law and authority and without due process of law,
deprived Plaintiff of her right to familial relationship with decedent by Defendants’ usage of
unreasonable and unjustified deadly force and violence thereby causing injuries which resulted in
decedent’s death, all without provocation. Additionally, Defendants and each of them, attempted
to conceal their excessive use and hide the true cause of decedent’s demise to deprive Plaintiff of
her right to seek redress, all in violation of ri ghts, privileges, and immunities secured by the First]

Fourth, and Fourteenth Amendments to the United States Constitution.

FIFTH CAUSE OF ACTION
(Survival Action: Violation of decedent’s civil rights)
(THE ESTATE OF EDGAR GARCIA V. RAMIREZ, PEPELINSKI & DOES 1 to 25)

38. Plaintiff hereby re-alleges and incorporates by reference paragraphs 1 through 37 as
though fully set forth herein,

39. EDGAR GARCIA was forced to endure great conscious pain and suffering because of
the Defendants’ conduct before his death.

40. EDGAR GARCIA did not file a legal action before his death.

41, Plaintiff, HILDA VAZQUEZ, as personal representative of the ESTATE OF EDGAR

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GARCIA, claims damages for the conscious pain and suffering incurred by EDGAR GARCIA,
as provided for under 42 U.S.C. § 1983.
WHEREFORE, Plaintiff prays for relief as hereinafter set forth.

SIXTH CAUSE OF ACTION
(Monell)
(42 U.S.C. § 1983)
(THE ESTATE OF EDGAR GARCIA Against CITY OF SANTA PAULA, SANTA
PAULA POLICE DEPARTMENT AND INTERIM CHIEF ISMAEL CORDERO AND
DOES 26 to 50)

42. Plaintiff hereby re-alleges and incorporates by reference herein paragraphs 1 through 41
as though fully set forth herein.

43. As against Defendants CITY OF SANTA PAULA, and/or DOES 26 to 50 and/or each
of them, individually and/or in their capacities as official policy-makers for all of their local
governmental agencies, including but not limited to Defendant SANTA PAULA POLICE
DEPARTMENT, alleges that the acts and/or omissions alleged in the Complaint herein are
indicative and representative of a repeated course of conduct by members of the Defendant CITY
OF SANTA PAULA POLICE DEPARTMENT tantamount to a custom, policy or repeated
practice of condoning and tacitly encouraging the abuse of police authority, and disregard for the
constitutional rights of citizens, such as Plaintiff.

44. Plaintiff is informed and believes and thereon alleges that the acts and/or omissions
alleged herein are the proximate result of custom, policy, pattern or practice of deliberate
indifference by Defendants CITY OF SANTA PAULA, and DOES 26 to 50 and/or each of them,
to the repeated violations of the constitutional rights of citizens by CITY OF SANTA PAULA
POLICE officers, which have included, but are not limited to, repeated acts of making false
reports, providing false and/or misleading information in causing detentions, arrests,
imprisonments and/or malicious prosecutions based on fabricated and/or misleading statements
and/or engaging in similar acts of misconduct on a repeated basis and failure to institute and
enforce a consistent disciplinary policy.

45. Plaintiff is further informed and believes and thereon alleges that the acts and/or

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omissions alleged herein are the proximate result of a custom, policy, pattern or practice of
deliberate indifference by Defendants CITY OF SANTA PAULA, DOES 26 to 50 and/or each of
them, to the repeated violations of the constitutional rights of citizens by CITY OF SANTA
PAULA POLICE officers, which have included, but are not limited to, using excessive and/or
deadly force on a repeated basis.

46. Plaintiff is further informed and believes and thereon alleges that the damages sustained
as alleged here were the proximate result of customs, policies and/or practices which included,
but were not limited to, the failure to adequately or appropriately hold officers accountable for
their misconduct, the failure to properly and fairly investigate complaints about officers”
misconduct, the failure to enact or adopt policies to ensure adequate and/or appropriate oversight
of officers to prevent continuing violations of the rights of citizens.

47. Plaintiff is further informed and believes and thereon alleges that the damages sustained
as alleged herein were the proximate result of customs, policies and/or practices which included,
but were not limited to, the failure to adequately or appropriately train officers using reality
based training techniques, workshops and/or simulations.

48. Plaintiff is further informed and believes and thereon alleges that the damages sustained
as alleged herein were the proximate result of customs, policies and/or practices which included,
but were not limited to, the failure to adequately or appropriately train officers in making
detentions, arrests and/or using force agents mentally impaired, emotionally disturbed persons
and/or minorities.

49, The aforementioned deliberate indifference, customs, policies or practices of Defendants
CITY OF SANTA PAULA and DOES 26 TO 50, and/or each of them, resulted in the
pemtvaig: of the constitutional rights of the Decedent and Plaintiff, including but not limited to
the following:

a. The right not to be deprived of life, liberty or property without Due Process of Law:
b. The right to be free from unreasonable searches and/or seizures:

c. The right to equal protection of the law;

d. The right to familial relationships; and

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e. The right to enjoy civil and statutory rights.
50. Said rights are substantive guarantees under the Fourth and /or Fourteenth Amendments
to the United States Constitution.

WHEREFORE, Plaintiff prays for relief as hereinafter set forth.

SEVENTH CAUSE OF ACTION
(Wrongful Death — Negligence)
(C.C.P, §377.60 AND 377.61)
(HILDA VAZQUEZ v. RAMIREZ AND PEPLINSKI & DOES 1 to 25)

51. Plaintiff re-alleges and incorporates by reference paragraphs | through 50 as though fully
set forth herein, except for any and all allegations of intentional, malicious, extreme, outrageous,
wanton, and oppressive conduct by Defendants, and any and all allegations requesting punitive
damages.

52. Defendants and DOES 1 to 25 inclusive, by and through their respective agents and
employees, proximately caused the death of decedent EDGAR GARCIA, on July 28, 2012 asa
result of their negligent conduct and/or negligent failure to act as set-forth herein.

53. As an actual and proximate result of said Defendants’ negligence, and the death of
decedent, Plaintiff, HILDA VAZQUEZ has sustained pecuniary loss resulting from the loss of
comfort, society, and services of her son, decedent, in an amount according to proof at time of
trial.

54. As a further actual and proximate result of said Defendants’ negligence, Plaintiff incurred
funeral and burial expenses, in an amount according to proof at time of trial.

55. Pursuant to California Code of Civil peeaee 88 377.60 and 377.61, Plaintiff has
brought this action and claims damages from said Defendants for the wrongful death of
decedent, and the resulting injuries.

WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
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EIGHTH CAUSE OF ACTION

(Violation of Decedent’s Right to Enjoy Civil Rights)
(Violation of California Civil Code § 52.1)
(THE ESTATE OF EDGAR GARCIA v. RAMIREZ, PEPLINSKI & DOES 1 to 25)

56. Plaintiff re-alleges and incorporates by reference paragraphs | through 55 as though
fully set forth herein.

57. Defendants’ above-described conduct constituted interference, and attempted
interference, by threats, intimidation and coercion, with decedent’s peaceable exercise and
enjoyment of rights secured by the Constitution and laws of the United States and the State of
California, in violation of California Civil Code § 52.1.

WHEREFORE, Plaintiff prays for relief as hereinafter set forth.

NINTH CAUSE OF ACTION
(Violation of Decedent’s State Statutory Rights)
Violation of California Civil Code § 51.7)
(THE ESTATE OF EDGAR GARCIA v. RAMIREZ, PEPLINSKI & DOES 1 to 25)

58. Plaintiff re-alleges and incorporates by reference paragraphs 1 through 57 as though fully
set forth herein.

59. Plaintiff is informed and believes and thereon alleges that the conduct of Defendants
HECTOR RAMIREZ and CHAD PEPLINSKI and DOES 1 through 25, inclusive, as described
herein, was motivated prejudice against EDGAR GARCIA. Decedent is and was readily
recognizable as Hispanic-American. In engaging in such conduct, Defendants violated
decedent’s rights under California Civil Cade §51.7 to be free from violence, or intimidation by
threat of violence committed against him because of his race.

60. Under the provisions of California Civil Code § 52(b), Defendants are liable for punitive
damages for each violation of California Civil Code § 51.7, reasonable attorney’s fees and an
additional $25,000.00,

61. As a proximate result of Defendants’ wrongful conduct, decedent suffered damages in an
amount to be proven at time of trial.

WHEREFORE, Plaintiff prays for relief as hereinafter set forth.

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TENTH CAUSE OF ACTION
(Intentional Infliction of Emotional Distress)
(THE ESTATE OF EDGAR GARCIA v. RAMIREZ, PEPLINSKI & DOES 1 to 25)

62. Plaintiff re-alleges and incorporates by reference paragraphs | through 61 as though full
set forth herein.

63. Defendants’ above-described conduct was extreme, unreasonable and outrageous.

64. By engaging in the above-described conduct, Defendants intentionally ignored or
recklessly disregarded the foreseeable risk that decedent would suffer extreme emotional distress
as a result of being shot in the abdomen by SANTA PAULA POLICE officers.

65. Plaintiffis of the belief and thereon alleges that EDGAR GARCIA did suffer severe
emotional distress after being shot and fearing that he would die from his wounds inflicted upon
him by Defendants.

WHEREFORE, Plaintiff prays for relief as hereinafter set forth.

ELEVENTH CAUSE OF ACTION
(Assault and Battery)
(THE ESTATE OF EDGAR GARCIA v. RAMIREZ, PEPLINSKI & DOES 1 to 25)

66. Plaintiff re-alleges and incorporates by reference paragraphs | through 65 as though fully
set forth herein.
67. Defendants’ above-described conduct constituted assault and battery on the person of
EDGAR GARCIA.
WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
JURY DEMAND
Plaintiffs hereby demand a jury trial on all issues so triable.
PRAYER
WHEREFORE, Plaintiff prays for relief as follows:
1. For general damages in a sum of $15,000,000.00:
2. For special damages, including but not limited to, past, present and/or future wage
loss, income and support, medical expenses and other special damages in a sub to be

determined according to proof;

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6. For cost of suit herein incurred.

BY:

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For funeral and burial expenses according to proof:

4. For punitive damages and exemplary damages in amounts to be determined according
to proof as to defendants Officer HECTOR RARMIREZ and Officer CHAD
PEPLINSKI and/or DOES 1 through 25 and/or each of them;

5. For reasonable attorney’s fees pursuant to 42 U.S.C § 1988; and

Dated: Septerver 2D,2O1\% LAW OFFICES OF VICTOR SALAS, JR.

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Victor Salas Jr,

Attorney for Plaintiffs

HILDA VAZQUEZ, individually,
and as personal representative of the
ESTATE OF EDGAR GARCIA, and
THE ESTATE OF EDGAR
GARCIA

 

 

 

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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Central District of California

HILDA VASQUEZ, individually, and as personal
representative of the ESTATE OF EDGAR GARCIA,
and the ESTATE OF EDGAR GARCIA

 

Plaintiff(s) be ere ;

v. civil Action Gp 1 3 cea 0 / / 2 6 “Se

CITY OF SANTA PAULA; THE SANTA PAULA

POLICE DEPARTMENT; et al (SEE ATTACHED
SHEET)

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CITY OF SANTA PAULA; THE SANTA PAULA POLICE DEPARTMENT; THE CHIEF
OF POLICE FOR THE SANTA PAULA POLICE DEPARTMENT; Interim Chief,
ISMAEL CORDERO; OFFICER HECTOR RAMIREZ, individually and in his official
capacity as a Police Officer for the CITY OF SANTA PAULA; Officer CHAD
PEPLINSKI, individually and in his official capacity as a Police Officer for the CITY OF
SANTA PAULA; and DOES 1 to 50, inclusive, individually and in their official
capacities as POLICE OFFICERS for the CITY OF SANTA PAULA

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney.
whose name and address are: Victor Salas, Jr. Esq.

DeJon R. Lewis, Esq.,

LAW OFFICES OF VICTOR SALAS, JR.
1655 Mesa Verde Avenue, Suite 150
Ventura, CA 93003

(805) 642-9770

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

   

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CLERK OF COURT
f

 
 

 

Victor Salas, Jr., SBN 138107

DeJon R. Lewis, Esq., SBN 225300
LAW OFFICE OF DEJON R. LEWIS
1655 Mesa Verde Avenue, Ste. 150
Ventura, CA 93003

(805) 64209770

Attorneys for Plaintiffs.

UNITED STATES

re 2:13-cv-07726-CBM-AJW Document 1 Filed 10/18/13 Page 160f19 Page ID #22

DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

DEFENDANTS CONTINUED...

)
)
)
)
)
THE CHIEF OF POLICE FOR THE SANTA )
PAULA POLICE DEPARTMENT; Interim
Chief, ISMAEL CORDERO; OFFICER )
HECTOR RAMIREZ, individually and in his )
official capacity as a Police Officer for the )
CITY OF SANTA PAULA; OFFICER )
CHAD PEPLINSKI, individually and in his 3
official capacity as a Police Officer forthe — j
CITY OF SANTA PAULA; and DOES 1 TO )
50, inclusive, individually and in their office )
capacities as Police Officers for the CITY OF )
SANTA PAULA.

)

)

Defendants.

 

(Attachment to SUMMONS)

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ATTACHMENT TO SUMMONS

 
Case 2:13-cv-07726-CBM-AJW Document1 Filed 10/18/13 Page 17 of 19 Page ID #:23
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

L (a) PLAINTIFFS ( Check bo. if you are representing yourself [_] ) DEFENDANTS

HILDA VASQUEZ, individually, and as personal representative of the ESTATE OF CITY OF SANTA PAULA; THE SANTA PAULA POLICE DEPARTMENT; THE CHIEF OF
EDGAR GARCIA, and the ESTATE OF EDGAR GARCIA POLICE FOR THE SANTA PAULA POLICE DEPARTMENT; Interim Chief, ISMAEL
CORDERO; OFFICER HECTOR RAMIREZ, individually and in his official capaciy as a
Police Officer for the CITY OF SANTA PAULA; OFFICER CHAD PEPLINSKI et al.

 

( Check box if you are representing yourself |] )

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you
are representing yourself, provide same information.)

Victor Salas, Jr, Esq.

DeJon R. Lewis, Esq.

LAW OFFICE OF VICTOR SALAS JR.

1655 Mesa Verde Avenue, Suite 150, Ventura, CA 93003 (805) 642-9770

(b) Attorneys (Firm Name, Address and Telephone Number. If you
are representing yourself, provide same information.)
Unknown

 

 

fl. BASIS OF JURISDICTION (Place an X in one box only.) ll. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)

1UStG t 3. Federal Question (U.S al ail Incorporated or Principal Place Ete =

nildio SS OVET AIM EN | 2: Fegerat Question (U5. Citizen of This State i 1 ene {Jj 4] 4
Plaintiff Government Not a Party) of Business in this State

Citizen of Another State [/] 2. [-] 2 Incorporated and Principal Place Oss
‘ : x soe 2 oe : of Business in Another State

2.U.S. Government 4. Diversity (Indicate Citizenship | Citizen or Subject of a i ;
Defendant of Parties in Item Ill) Foreign Country 13 CF 3 Foreign nation f}s (116

 

 

IV. ORIGIN (Place an X in one box only.)

1. Original Cc C

Proceeding

6. Multi-
District
Litigation

5. Transferred from Another
District (Specify)

4. Reinstated or
Reopened

3. Remanded from
Appellate Court

2. Removed from
State Court

LJ L LJ

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [_] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: [ | Yes No MONEY DEMANDED IN COMPLAINT: $ 15,000,000.00

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Title 42 of the United States Code Section 1983. Defendants, and each of them, violated Plaintiffs’ Civil Rights by wrongfully causing his death.

 

 

Vil. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

| OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
[1] 375 False Claims Act [-] 110 Insurance [-] 240 Torts to Land ie ve Ratisleaton Habeas Corpus: [_] 820 Copyrights
V
[400 state CJ] 120 Marine (1) 245 Tort Product pe (] 463 Alien Detainee |) 830 Patent
Reapportionment Liability 0 465 Other Ol 510 Motions to Vacate
1 410 Antitrust [_] 130 Miller Act [] 290 All Other Real Immigration Actions Sentence {_} 840 Trademark
4 Property TORTS LC] 530 General SOCIAL SEC
; 140 Negotiable AL SECURITY
Co) at Gente BemitOg a cent TORTS PERSONAL PROPERTY |[_] 335 Death Penalty [] 861 HIA (13954)
450 Commerce/ICC PERSONAL PROPERTY
im 150 Recovery of {-] 370 Other Fraud Other:
Rates/Etc. : : {_] 862 Black Lung (923)
Overpayment & |{_] 310 Airplane
{_] 460 Deportation Enters of q 315 Airplane (_] 371 Truth in Lending |[7] 540 Mandamus/Other |[_] 863 DIWC/DIWW (405 (q))
[470 Racketeer Influ- 4 2 Product ey [] 380 Other Personal [J 550 Civil Rights (_] 864 SSID Title XVI
enced & Corrupt Org. 151 Medicare Act 320 Assault, Libel & Property Damage : se
[i] SJander ss va uormioressae oO 555 Prison Condition [DJ 865 RSI (405 (q))
{-] 480 Consumer Credit 152 Recovery of 330.Fed. Eraployers' IL] perty Hamad) 560 Civil Detainee
Product Liabilit -
[J 490 Cable/sat TV (] Defaulted Student |[] (jability Y__|[) Conditions of FEDERAL TAX SUITS
Loan (Excl. Vet.) . BANKRUPTCY Confinement 870 Taxes (US. Plaintiff or
[1 850, Securties/Com- 153 Recovery of O ls product |) 422 Appeal 28 FORFEITURE/PENALTY |{_] Sefendant)
modities/Exchange el Overpayment of oO aN USC 158 625 Drug Related 871 IRS-Third P sc
I Liabil : g Relate ird Party 26U
oO 890 Other Statutory Vet. Benefits een ; 423 Withdrawal 28 C1 Seizure of Property 21 O 7609
Actions 160 Stockholders’ [] 350Motor Vehicle [LI] sc is7 USC 881
[-] 891 Agricultural Acts C] Suits oO ee ae CIVIL RIGHTS {_] 690 Other
uc i
i ivil Ri LABOR
q oe | ymenment gl 190 Other 7 S60 OMar Daren 440 Other Civil Rights STREETER
Injury [_] 441 Voting oO air Labor Standards
LC] Be teedoriah sic. 195 Contract 362 Personal Injury- Act
ae L Product Liability Oj Med Malpratice L] 442 Employment oO 720 Labor/Mgmt.
[_] 896 Arbitration [[] 196 Franchise g 365 Personal injury- |[7] ue Housing! Relations
Product Liability ecome dations {-] 740 Railway Labor Act
899 Admin. Procedures REAL PROPERTY 367 Health Care/ 445 American with . ;
7 Teale isabiliti 751 Family and Medical
[_] Act/Review of Appeal of (] 210 Land [] Pharmaceutical {_] Disabilities- oO : . Me edica
Agency Decision Condemnation Personal Injury Employment SANSENG
{_] 220 Foreclosure Product Liability ‘- 446 American with = |] 790 Other Labor
950 Constitutionality of S30 REAL beaceR 368 Asbestos Disabilities-Other Litigation
O State Statutes a eeedieaec ne L) Personal Injury (] 448 Education 0 791 Employee Ret. Inc.
_[-= Ejectment Pr iabili Security Act

FOR OFFICE USE ONLY:

 

 

 

Case Number:

 

 

 

 

 

 

 

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CV-71 (09/13)

CIVIL COVER SHEET _

Page 1 of 3
Case 2:13-cv-07726-CBM-AJW Document 1 Filed 10/18/13 Page 18 of 19 Page ID #:24

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

Vill. VENUE: Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

Question A: Was this case removed from
state court?

STATE CASE WAS PENDING IN THE COUNTY OF:

INITIAL DIVISION IN CACD IS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LJ Yes No ([_] Los Angeles Western
if "no," go to Question B. If"yes," check the j[] Ventura, Santa Barbara, or San Luis Obispo Western
box to the right that applies, enter the =f
corresponding division in response to [_] Orange Southern
Question D, below, and skip to Section IX. =
{| Riverside or San Bernardino Eastern
Question B: Is the United States, or one of If the United States, or one of its agencies or employees, is a party, is it:
its agencies or employees, a party to this :
action? i INTIAL
A PLAINTIFF? A DEFENDANT? DIVISION IN
: : CACDIS:
¥ x] oN é
Ey xe i Then check the box below for the county in ’ Then check the box below for the county in
which the majority of DEFENDANTS reside. which the majority of PLAINTIFFS reside.
If"no," go to Question C. If"yes,"checkthe /[_] Los Angeles {| Los Angeles Western
box to the right that applies, enter the Ventura, Santa Barbara, or San Luis Ventura, Santa Barbara, or San Luis
corresponding division in response to C1 obispo C] Ohispa Western
Question D, below, and skip to Section IX.
[-] Orange [-] Orange Southern
[| Riverside or San Bernardino [-] Riverside or San Bernardino Eastern
{| Other [_] Other Western
“oA B. ee BD. E; Fe
Question C; Location of Los Angeles | Ventura, Santa Barbara, or | Orange County Riverside or San Outside the Central Other
plaintiffs, defendants, and claims? County San Luis Obispo Counties Bernardino Counties District of California

 

Indicate the location in which a
majority of plaintiffs reside:

CJ

L

L

LJ

 

Indicate the location in which a
majority of defendants reside:

C]

UL]

L

LI

 

Indicate the location in which a
majority of claims arose:

 

C]

 

LI

L

 

 

L

 

 

 

E] 2 or more answers in Column C

C.1. Is either of the following true? If so, check the one that applies:

[__] only 1 answer in Column C and no answers in Column D

Your case will initially be assigned to the
SOUTHERN DIVISION.
Enter “Southern” in response to Question D, below.

If none applies, answer question C2 to the right.

cm

 

[__] 2or more answers in Column D

C.2. Is either of the following true? If so, check the one that applies:

[] only 1 answer in Column D and no answers in Column C

Your case will initially be assigned to the
EASTERN DIVISION.
Enter “Eastern” in response to Question D, below.

If none applies, go to the box below. J

 

Your case will initially be assigned to the
WESTERN DIVISION.
Enter "Western" in response to Question D below

 

 

 

Question D: Initial Division?

INITIAL DIVISION IN CACD

 

 

Enter the initial division determined by Question A, B, or C above:

—

 

WESTERN DIVISION

 

 

 

CV-71 (09/13)

CIVIL COVER SHEET

Page 2 of 3
Case 2:13-cv-07726-CBM-AJW Document1 Filed 10/18/13 Page 19 of 19 Page ID #:25

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL COVER SHEET
IX(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO L] Yes
If yes, list case number(s):
IX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO (ol. YES

If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply’

X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):

) [| A. Arise from the same or closely related transactions, happenings, or events; or

[| B. Call for determination of the same or substantially related or similar questions of law and fact; or

LJ C. For other reasons would entail substantial duplication of labor if heard by different judges; or

[] D. Involve the same GF and one of the factors identified above ina, b or c also is present.

MEE I As DATE: JO -03 - LO( 5

Notice to Counsel/Parties: The CV-71 (J5-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

Abbreviation

HIA

BL

DIWC

DIWW

SSID

RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (aid age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

CV-71 (09/13)

CIVIL COVER SHEET Page 3 of 3
